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7
                     UNITED STATES DISTRICT COURT
8               FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                         )   Case No.: 2:21-cv-2119
10   ANARELI FLORES,                     )
                                         )   COMPLAINT FOR DAMAGES
11
                Plaintiff,               )   1. VIOLATION OF THE
12                                       )   TELEPHONE CONSUMER
          v.                             )   PROTECTION ACT, 47 U.S.C. §
13                                       )   227, ET. SEQ.
14
     TRUMP MAKE AMERICA                  )
     GREAT AGAIN (“TMAGAC”),             )   JURY TRIAL DEMANDED
15   DONALD J. TRUMP FOR                 )
     PRESIDENT, INC. (“DJTP”),           )
16
     SAVE AMERICA, AND THE               )
17   REPUBLICAN NATIONAL                 )
     COMMITTTEE (“RNC”),                 )
18                                       )
19                Defendants.            )

20

21
                             COMPLAINT
22        ANARELI FLORES (Plaintiff), by and through his attorneys, Kimmel &
23
     Silverman, P.C., alleges the following against TRUMP MAKE AMERICA
24
     GREAT AGAIN (“TMAGAC”), DONALD J. TRUMP FOR PRESIDENT,
25

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                                PLAINTIFF’S COMPLAINT
28
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1    INC. (“DJTP”), SAVE AMERICA, AND THE REPUBLICAN NATIONAL
2
     COMMITTTEE (“RNC”) (Defendants):
3

4                                    INTRODUCTION
5          1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection
6
     Act (“TCPA”), 47 U.S.C. §227.
7

8                              JURISDICTION AND VENUE
9
           2.     This Court has subject-matter jurisdiction over the TCPA claims in
10
     this action under 28 U.S.C. § 1331, which grants this court original jurisdiction of
11

12
     all civil actions arising under the laws of the United States. See Mims v. Arrow

13   Fin. Servs., LLC, 565 U.S. 368, 386-87 (2012) (confirming that 28 U.S.C. § 1331
14
     grants the United States district courts federal-question subject-matter jurisdiction
15
     to hear private civil suits under the TCPA).
16

17         3.     This Court has personal jurisdiction over Defendants as they conduct

18   business in California.
19
           4.     Venue is proper under 28 U.S.C. § 1391(b)(2).
20

21                                        PARTIES
22         5.     Plaintiff is a natural person residing in Los Angeles, CA 90011.
23
           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
24

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                                   PLAINTIFF’S COMPLAINT
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1          7.     Defendant TMAGAC is a joint fundraising committee composed of
2
     participating committees Donald J. Trump for President, Inc. (“DJTP”), Save
3
     America, and the Republican National Committee (“RNC”), and has principal
4

5    place of business, head office, or otherwise valid mailing address at 1776 Wilson

6    Boulevard, Suite 530, Arlington, Virginia 22209.
7
           8.     Defendant DJTP has principal place of business, head office, or
8
     otherwise valid mailing address at 725 Fifth Avenue, New York, NY, 10022.
9

10         9.     Defendant Save America has principal place of business, head office,
11   or otherwise valid mailing address at 1150 Welsh Rd, Lansdale, PA 19446
12
           10.    Defendant RNC has principal place of business, head office, or
13

14
     otherwise valid mailing address at 310 First St SE, Washington, DC 20003

15         11.    Defendants are each a “person” as that term is defined by 47 U.S.C. §
16
     153(39).
17
           12.    Defendants acted in concert and through their agents, employees,
18

19
     officers, members, directors, heirs, successors, assigns, principals, trustees,

20   sureties, subrogees, representatives, and/or insurers.
21

22                               FACTUAL ALLEGATIONS

23         13.    Defendants devised and implemented a campaign marketing strategy

24   which included the transmission of text messages through use of an automatic
25
     telephone dialing system.
26

27                                           -3-
                                    PLAINTIFF’S COMPLAINT
28
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1          14.    Plaintiff received multiple text messages from Defendants to his
2
     cellular telephone XXX-XXX-6923.
3
           15.    Defendants did not obtain express consent from Plaintiff prior to
4

5    sending the Plaintiff the unsolicited text messages.

6          16.    Plaintiff never provided her cellular telephone number to Defendants,
7
     has no affiliation with Defendant, has never provided any donations to Defendant,
8
     and has not attended any rallies organized by Defendant.
9

10         17.    Plaintiff has been on the Do Not Call Registry since February 2018.
11         18.    These unsolicited text messages placed to Plaintiff’s cellular
12
     telephone were placed using an automated telephone dialing system (ATDS).
13

14
           19.    The text messages were not sent to Plaintiff for “emergency

15   purposes.”
16
           20.    The actions described herein were in violation of the TCPA.
17

18
                                       COUNT I
                    Defendants Violated the TCPA 47 U.S.C. § 227(b)
19
           21.    Plaintiff incorporates the forgoing paragraphs as though the same
20

21   were set forth at length herein.
22
           22.    The TCPA prohibits placing calls or text messages using an automatic
23
     telephone dialing system or automatically generated or prerecorded voice to a
24

25
     cellular telephone except where the caller has the prior express consent of the

26

27                                           -4-
                                    PLAINTIFF’S COMPLAINT
28
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1    called party to make such calls or where the call is made for emergency purposes.
2
     47 U.S.C. § 227(b)(1)(A)(iii).
3
           23.    Defendants initiated multiple text messages to Plaintiff’s cellular
4

5    telephone number using an automatic telephone dialing system.

6          24.    Defendants’ texts were not made for “emergency purposes.”
7
           25.    Defendants’ texts to Plaintiff’s cellular telephones without any prior
8
     express consent.
9

10         22.    Defendants contacted Plaintiff despite the fact that Plaintiff has been
11   on the Do Not Call Registry.
12
           23.    Defendants’ acts as described above were done with malicious,
13

14
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights

15   under the law and with the purpose of harassing Plaintiff.
16
           24.    The acts and/or omissions of Defendants were done unfairly,
17
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
18

19
     lawful right, legal defense, legal justification or legal excuse.

20         25.    As a result of the above violations of the TCPA, Plaintiff has suffered
21
     the losses and damages as set forth above entitling Plaintiff to an award of
22
     statutory, actual and trebles damages.
23

24

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                                      PLAINTIFF’S COMPLAINT
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1                                      COUNT II
                     Defendants Violated the TCPA 47 U.S.C. § 227(C)
2

3          26.    Plaintiff incorporates the forgoing paragraphs as though the same
4
     were set forth at length herein.
5
           27.    The TCPA prohibits any person or entity of initiating any telephone
6

7
     solicitation to a residential telephone subscriber who has registered his or her

8    telephone number on the National Do-Not-Call Registry of persons who do not
9
     wish to receive telephone solicitations that is maintained by the Federal
10
     Government. 47 U.S.C. § 227(c).
11

12         28.    Defendant contacted Plaintiff despite the fact that Plaintiff has been

13   on the Do Not Call Registry.
14
           29.    Defendants’ acts as described above were done with malicious,
15
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
16

17   under the law and with the purpose of harassing Plaintiff.
18         30.    The acts and/or omissions of Defendants were done unfairly,
19
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
20
     lawful right, legal defense, legal justification or legal excuse.
21

22         31.    As a result of the above violations of the TCPA, Plaintiff has suffered
23
     the losses and damages as set forth above entitling Plaintiff to an award of
24
     statutory, actual and trebles damages.
25

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27                                            -6-
                                     PLAINTIFF’S COMPLAINT
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2          Wherefore, Plaintiff, ANARELI FLORES, respectfully prays for judgment
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     as follows:
4
                   a.   All actual damages Plaintiff suffered (as provided under 47
5

6                       U.S.C. § 227(b)(3)(A));

7                  b.   Statutory damages of $500.00 per violative telephone call (as
8
                        provided under 47 U.S.C. § 227(b)(3)(B));
9
                   c.   Additional statutory damages of $500.00 per violative
10

11                      telephone call (as provided under 47 U.S.C. § 227(C);
12
                   d.   Treble damages of $1,500.00 per violative telephone call (as
13
                        provided under 47 U.S.C. § 227(b)(3));
14

15
                   e.   Additional treble damages of $1,500.00 per violative telephone

16                      call (as provided under 47 U.S.C. § 227(C);
17
                   f.   Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and
18
                        (c); and
19

20
                   g.   Any other relief this Honorable Court deems appropriate.

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27                                          -7-
                                   PLAINTIFF’S COMPLAINT
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2
                                           Respectfully submitted,
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     Dated: 03-09-2021                     By: /s/ Amy L. Bennecoff Ginsburg
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                                PLAINTIFF’S COMPLAINT
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